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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION

CONTINENTAL CASUALTY )
COMPANY )
)
)
Plantiff, )

) Case No. 2:05 CV 2356D/V
v. )
)
)
HODGES LAW FIRM AND )
WARNER HODGES, III )
)
Defendants, )

 

ORDER GRANTING ENTRY OF DEFAULT

 

Upon the Request for Entry of Default filed by Plantiff on August 30, 2005, DEFAULT IS
I-IEREBY ENTERED against the defendants, Hodges Law Firm and Warner Hodges, ]]1[l
pursuant to FRCVP 55(a).

Service Was made upon the above-named defendant in accordance to the FRCVP. The
defendant has failed to plead or answer.

For good cause shown, the court may set aside this request for entry of default, pursuant to
Rule 55(c).

Entered this 30th day of August, 2005.

THOMAS M. GOULD

Clerk of Court
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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02356 Was distributed by faX, mail, or direct printing on
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Nicholas E. Bragorgos

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l\/lemphis7 TN 38103--540

Honorable Bernice Donald
US DISTRICT COURT

